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                                                                             United States Bankruptcy Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                    IN THE UNITED STATES BANKRUPTCY COURT                          March 03, 2023
                      FOR THE SOUTHERN DISTRICT OF TEXAS                         Nathan Ochsner, Clerk
                               HOUSTON DIVISION

                                                )
In re:                                          ) Chapter 11
                                                )
TEHUM CARE SERVICES, INC.,                      ) Case No. 23-90086 (CML)
                                                )
                               Debtor.          ) Re: Docket No. 7
                                                )

               ORDER REGARDING DEBTOR’S EMERGENCY MOTION
                TO EXTEND AND ENFORCE THE AUTOMATIC STAY


         Pursuant to Section 105(a) of the Bankruptcy Code, and for the reasons stated on the

record at the March 3, 2023 hearing (including preserving the rights of affected parties and

preserving estate assets), the Court temporarily extends the automatic stay to the litigation

claims on the attached Exhibit 1 through May 18, 2023.

         The Court will conduct an evidentiary hearing to consider the relief requested in the

Debtor's Motion to Extend and Enforce the Automatic Stay (Docket No. 7) on May 17, 2023

at 1:00 p.m. (Central Time). Objections to the Motion must be filed by April 3, 2023. The

Debtor must file any reply to objections by April 24, 2023.




           August
           March 03,02, 2019
                     2023
                     Case 23-90086 Document 118 Filed in TXSB on 03/03/23 Page 2 of 3


                                                                             Exhibit 1

                                                                                                                       Non-Debtor        Indemnified
                                     Case Caption                                               Indemnified Clients
                                                                                                                        Affilates      D&Os / Employees
                  Edmo v. Corizon Inc. et al., No. 1:17-cv-00151-BLW                           Idaho Department of
                     U.S. District Court for the District of Idaho                                 Corrections
                                                                                               Idaho Department of
                         N/A (Tort Claim Notice of Alex Scott)
                                                                                                   Corrections
                Lyles v. Papendick et al., No. 2:19-cv-10673-LJM-KGA                                                   YesCare Corp.
                 U.S. District Court for the Eastern District of Missouri                                              CHS TX, Inc.
                     Wolf v. Tewalt, et al., No. 1:21-cv-00226-BLW                                 Rona Seigert
                      U.S. District Court for the District of Idaho                           (Idaho DOC employee)
                Branum v. City of Phoenix, et al, No. 4:21-cv-00357-RM                             David Shinn,
                     U.S. District Court for the District of Arizona                           Arizona DOC Director
                                                                                               Idaho Department of
                     N/A (Tort Claim Notice of Bradley Armstrong)
                                                                                                   Corrections
 Cameron Regional Medical Center, Inc v. Corizon Health, Inc., et al., No. 5:22-cv-6122                                YesCare Corp.
               U.S. District Court for the Western District of Missouri                                                CHS TX, Inc.
                   Belcher v. Tewalt, et al., No. 1:21-cv-00393-BLW                                Rona Seigert
                      U.S. District Court for the District of Idaho                           (Idaho DOC employee)
                    Belcher v. Grace, et al., No. 1:22-cv-00256-BLW                                Rona Seigert
                       U.S. District Court for the District of Idaho                          (Idaho DOC employee)
 Curators of the Univ. of Missouri et al. v. Tehum Care Servs., Inc., et al., No. 23-04005
                                                                                                                       YesCare Corp.
               U.S. Bankruptcy Court for the Western District of Missouri
                                                                                                                       CHS TX, Inc.
(removed from the Circuit Court of Boone County, Mo., Div. 4, No. 22BA-CV01701-01)
       Capitol Eye Care Inc. v. Tehum Care Services Inc., No. 22AC-CC07354                                             YesCare Corp.
                         Circuit Court of Cole County, Missouri                                                        CHS TX, Inc.
           Brightly v. Corizon Health Inc., et al., No. 4:21-cv-127-JCH-PSOT                       David Shinn,
                       U.S. District Court for the District of Arizona                         Arizona DOC Director
             Mintun v. Corizon Health Inc., et al., No. 1:21-cv-00124-BLW                          Rona Seigert
                       U.S. District Court for the District of Idaho                          (Idaho DOC employee)
               Stenberg v. Corizon Health, Inc., et al., No. 4:20-cv-10674                                             YesCare Corp.
                                                                                                                                        Patricia Schmidt
                 U.S. District Court for the Eastern District of Michigan                                              CHS TX, Inc.
     Halo Branded Solutions, Inv. v. Corizon Health Inc., et al., No. 2023LA000124                                     YesCare Corp.
                Circuit Court of 18th Judicial Circuit Court of Illinois                                               CHS TX, Inc.
               Bernstein v. Corizon Health Inc. et al., No. 18PI-CC00022                      Missouri Department of
                        Circuit Court of Pike County, Missouri                                     Corrections
                                                                                                                                        Sara Tirschwell,
                                                                                                                                        Scott King, Isaac
                   Hyman v. YesCare Corp. et al., No. 3:22-cv-01081                                                    YesCare Corp.      Lefkowitz,
                 U.S. District Court for the Middle District of Tennessee                                              CHS TX, Inc.        Abraham
                                                                                                                                         Goldberger, &
                                                                                                                                         David Gefner
         Wilkinson v. Corizon Medical Services, et al., No. 1:22-cv-00104-REP                      Rona Seigert
                      U.S. District Court for the District of Idaho                           (Idaho DOC employee)
                    Snider v. Corizon Medical et al., No. 1:20-cv-648
                                                                                                                                        Patricia Schmidt
                 U.S. District Court for the Western District of Michigan
            Estate of Milkiewicz v. Genesee County et al., No. 2:17-cv-13047
                                                                                                 Genesee County
                 U.S. District Court for the Eastern District of Michigan
                K.A. et al. v. City of New York et al., No. 1:16-cv-04936
                                                                                                 City of New York                        Sidney Wilson
                U.S. District Court for the Southern District of New York
          Jackson v. Corizon Health Inc. et al., No. 2:19-cv-13382-GAD-PTM                                             YesCare Corp.
                U.S. District Court for the Eastern District of Michigan                                               CHS TX, Inc.
                  Miotke v. Corizon Health Inc. et al., No. 19-cv-47201
                                                                                                Clackamas County
                    Circuit Court of Oregon, County of Multnoman
                  Stewart v. Ryan et al., No. 2:20-cv-01376-ROS-DMF                                Charles Ryan
                      U.S. District Court for the District of Arizona                         (Arizona DOC Director)
Maxim Healthcare Staffing Servs., Inc. v. Tehum Care Servs., Inc. et al., No. 3:23-cv-0018                             YesCare Corp.
               U.S. District Court for the Middle District of Tennessee                                                CHS TX, Inc.
                                                                                                Jefferson Dunn, Ruth
                Chapman v. Dunn et al., No. 2:20-cv-00007-WKW-CSC
                                                                                               Naglich, & Mary Cooks
                 U.S. District Court for the Middle District of Alabama
                                                                                             (Alabama DOC employees)
                  Schroder v. Johnson, et al., No. 1:21-cv-00106-BLW                                Rona Seigert
                      U.S. District Court for the District of Idaho                            (Idaho DOC employee)


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                                                                                                                          Non-Debtor        Indemnified
                                     Case Caption                                              Indemnified Clients
                                                                                                                           Affilates      D&Os / Employees
                  Schroder v. Zarkoff et al., No. 1:21-cv-00052-BLW                               Rona Seigert
                      U.S. District Court for the District of Idaho                          (Idaho DOC employee)
           Buchanan v. Tehum Care Services, Inc. et al., No. 4:22-cv-01361                                                YesCare Corp.
               U.S. District Court for the Eastern District of Missouri                                                   CHS TX, Inc.
                    Coleman v. Corizon et al., No. 5:21-cv-13061
                                                                                                                                           Patricia Schmidt
                U.S. District Court for the Eastern District of Michigan
        Gamez v. United States, et al., No. 20-16180, 9th Cir. Court of Appeals            Charles Ryan & Richard Pratt
(on appeal from 2:17-cv-02044-JJT-ESW, U.S. District Court for the District of Arizona)     (Arizona DOC employees)
                     Johnson v. Gulick et al., No. 2:20-cv-10147
                                                                                                                                           Patricia Schmidt
                U.S. District Court for the Eastern District of Michigan
            Blake v. Corizon et al., No. 22-3048, 10th Cir. Court of Appeals
                                                                                                                                             Scot Yarnell
(on appeal from 5:21-cv-3140-JAR-ADM, U.S. District Court for the District of Kansas)
 Saint Alphonsus Health Sys., Inc. v. Tehum Care Servs., Inc., et al., No. 1:23-cv-00065                                  YesCare Corp.    Sara Tirschwell
                     U.S. District Court for the District of Idaho                                                        CHS TX, Inc.       Scott King
 Saint Alphonsus Health Sys., Inc. v. Tehum Care Servs., Inc., et al., No. 1:23-cv-00065                                  YesCare Corp.
                     U.S. District Court for the District of Idaho                                                        CHS TX, Inc.
   St. Luke's Health System, Ltd et al v. Corizon, LLC et al., No. 1:18-cv-00289-DCN                                      YesCare Corp.
                       U.S. District Court for the District of Idaho                                                      CHS TX, Inc.
               Nelson v. Corizon LLC, et al., No. 8:19-cv-449-CEH-JSS                         Florida Department of
                 U.S. District Court for the Middle District of Florida                            Corrections
                 Hasty v. Corizon LLC et al., No. 2:22-cv-04054-SRB                                                       YesCare Corp.
                U.S. District Court for the Western District of Missouri                                                  CHS TX, Inc.
           Kelly v. Corizon Health Inc. et al., No. 2:22-cv-10589-MAG-DRG                                                 YesCare Corp.
                 U.S. District Court for the Eastern District of Michigan                                                 CHS TX, Inc.




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